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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


SONOS, INC.,

               Plaintiff,

       vs.                                        Case No. 6:20-cv-00881-ADA

GOOGLE LLC,
                                                  JURY TRIAL DEMANDED
               Defendant.



                                  JOINT STATUS REPORT

TO THE HONORABLE COURT:

       Plaintiff Sonos, Inc. (“Sonos”) and Defendant Google LLC (“Google”) (collectively, the

“Parties”) submit this Joint Status Report pursuant to the Court’s Order and respectfully show, as

follows:

Status of Fact Discovery and Final Contentions

       Fact discovery commenced on August 11, 2021, and is currently ongoing. On September

10, 2021, Sonos served its final infringement contentions and Google served its final invalidity

contentions.

Status of Pending Motions:

   1. ECF No. 55 – Google’s Motion to Dismiss for Failure to State a Claim (briefing complete)

   2. ECF No. 80 – Joint Motion to Enter Discovery Order

   3. ECF No. 99 – Google’s Motion to Expedite the Briefing Schedule on its Motion to Stay
      Claim Construction Proceedings Pending Resolution of Google’s Mandamus Petition
      (Moot)

   4. ECF No. 100 – Motion to Stay Claim Construction Proceedings (Moot)
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   5. ECF No. 107 – Google’s Motion to Strike Sonos’s Untimely Priority Claims (briefing
      complete)


DATED: September 20, 2021

                                       By: /s/ Paige A. Amstutz
                                          Paige Arnette Amstutz
                                          Texas State Bar No. 00796136
                                          SCOTT, DOUGLASS & MCCONNICO, LLP
                                          303 Colorado Street, Suite 2400
                                          Austin, TX 78701
                                          Telephone: (512) 495-6300
                                          Facsimile: (512) 495-6399
                                          pamstutz@scottdoug.com

                                          Charles K. Verhoeven (admitted pro hac vice)
                                          charlesverhoeven@quinnemanuel.com
                                          Melissa Baily (admitted pro hac vice)
                                          melissabaily@quinnemanuel.com
                                          Jordan Jaffe (admitted pro hac vice)
                                          jordanjaffe@quinnemanuel.com
                                          Lindsay Cooper (admitted pro hac vice)
                                          lindsaycooper@quinnemanuel.com
                                          QUINN EMANUEL URQUHART & SULLIVAN LLP
                                          50 California Street, 22nd Floor
                                          San Francisco, CA 94111-4788
                                          Telephone:     (415) 875 6600
                                          Facsimile:     (415) 875 6700

                                          Counsel for Defendant Google LLC


                                        By: /s/ Mark D. Siegmund
                                        Mark D. Siegmund
                                        Texas State Bar No. 24117055
                                        LAW FIRM OF WALT, FAIR PLLC.
                                        1508 North Valley Mills Drive
                                        Waco, TX 76710
                                        Telephone: (254) 772-6400
                                        Facsimile: (254) 772-6432
                                        mark@walfairpllc.com

                                        Clement Seth Roberts (admitted pro hac vice)
                                        ORRICK, HERRINGTON & SUTCLIFFE LLP
                                        405 Howard Street
                                        San Francisco, CA 94105
                                        Telephone:    (415) 773-5484
                                        Facsimile:    (415) 773-5759
                                        croberts@orrick.com
                                        Bas de Blank (admitted pro hac vice)
                                        ORRICK, HERRINGTON & SUTCLIFFE LLP
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                                             1000 Marsh Boulevard
                                             Menlo Park, CA 94205
                                             Telephone:     (650) 614-7343
                                             Facsimile:     (650) 614-7401
                                             bdeblank@orrick.com
                                             Alyssa Caridis (admitted pro hac vice)
                                             ORRICK, HERRINGTON & SUTCLIFFE LLP
                                             777 South Figueroa Street, Suite 3200
                                             Los Angeles, CA 90017
                                             Menlo Park, CA 94205
                                             Telephone:     (213) 612-2372
                                             Facsimile:     (213) 612-2499
                                             acaridis@orrick.com

                                             George I. Lee (admitted pro hac vice)
                                             Sean M. Sullivan (admitted pro hac vice)
                                             Roy P. Shea (admitted pro hac vice)
                                             J. Dan Smith (admitted pro hac vice)
                                             LEE SULLIVAN SHEA & SMITH LLP
                                             656 W. Randolph Street, Floor 5W
                                             Chicago, IL 60661
                                             Telephone:     (312) 754-9602
                                             Facsimile:     (312) 754-9603
                                             lee@ls3ip.com
                                             sullivan@ls3ip.com
                                             shea@ls3ip.com
                                             smith@ls3ip.com

                                             Counsel for Plaintiff Sonos, Inc.


                                CERTIFICATE OF SERVICE

       Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

that, on September 20, 2021, all counsel of record who have appeared in this case are being served

with a copy of the foregoing via the Court’s CM/ECF system.


                                                     /s/ Mark D. Siegmund
                                                     Mark D. Siegmund
